




 










&nbsp;

IN THE

TENTH COURT OF APPEALS

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No. 10-09-00219-CR

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In
re Baltasar D. Cruz

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Original Proceeding

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MEMORANDUM&nbsp; Opinion



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Baltasar D. Cruz’s application for writ
of mandamus is denied.&nbsp; His emergency motion to stay proceedings is dismissed
as moot.

&nbsp;

PER CURIAM

Before Chief
Justice Gray,

Justice
Reyna, and

Justice
Davis

Petition denied

Opinion
delivered and filed July 13, 2009

[OT06]








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for publication).

Only the Court of Criminal Appeals has
jurisdiction in final post-conviction habeas corpus proceedings. &nbsp;Tex. Code Crim. Proc. Ann. art. 11.07; Ater
v. Eighth Court of Appeals, 802 S.W.2d 241, 243 (Tex. Crim. App. 1991); Board
of Pardons &amp; Paroles ex rel. Keene v. Court of Appeals for Eighth Dist.,
910 S.W.2d 481, 483 (Tex. Crim. App. 1995) (holding that article 11.07 provides
the exclusive means to challenge a final felony conviction). This court lacks
jurisdiction to grant mandamus relief in matters related to a post-conviction
writ application. &nbsp;See McCree v. Hampton, 824 S.W.2d 578, 579 (Tex.
Crim. App. 1992) (Court of Criminal Appeals has jurisdiction to order the trial
court to rule on applicant’s post-conviction writ of habeas corpus.); In re
McAfee, 53 S.W.3d 715, 717 (Tex. App.—Houston [1st Dist.] 2001, orig.
proceeding) (concluding that intermediate courts of appeals have no authority
to issue writs of mandamus in criminal [ ] matters pertaining to article 11.07
writs).

&nbsp;

Id.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because the relief that
Brown seeks relates to post-conviction habeas corpus relief, we do not have
jurisdiction over this original proceeding.&nbsp; See id. (citing In re Trevino, 79 S.W.3d 794, 795 (Tex. App.—Corpus
Christi 2002, orig. proceeding) (holding that court of appeals did not have
jurisdiction to issue mandamus directing district court to forward copy of
record to inmate for purposes of pursuing post-conviction relief)). &nbsp;Accordingly,
we dismiss the petition for writ of
mandamus.

&nbsp;

&nbsp;

REX D. DAVIS

Justice

&nbsp;

&nbsp;

Before
Chief Justice Gray,

Justice Davis, and

Justice Scoggins

Petition
dismissed

Opinion
delivered and filed July 13,
2011

Do
not publish

[OT06]

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